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To the esteemed Judge Nichols, presiding over the case of Mr. Larry
Giberson, I respectfully introduce myself as Christen Quintin. As an
individual closely acquainted with the Giberson family for nearly two
decades, I bear witness to the remarkable growth and development of Mr.
Giberson from his formative years to the accomplished individual he is
today. Under the nurturing guidance of his mother, Jackie, Mr. Giberson
has been instilled with a strong moral compass, demonstrating exemplary
conduct and unwavering respectfulness throughout his life.

From his early involvement with the Philadelphia Boys Choir to his
outstanding academic achievements at Princeton University, Mr. Giberson
has consistently displayed exceptional talent and dedication. Moreover, he
has consistently upheld his familial responsibilities as a loving son, brother,
cousin, grandson, and a loyal friend to many. His commitment to his studies
and his unwavering support for his mother, who raised him single-handedly,
exemplify his unwavering dedication to personal and communal
excellence.

In light of the ongoing uncertainties that could potentially impact Mr.
Giberson's future, I beseech the court to recognize his exceptional
character and unwavering commitment to upholding the principles of justice
and integrity. Mr. Giberson stands as a beacon of virtue and societal
contribution, demonstrating a passion for his country and an unyielding
dedication to his beliefs.

I implore you, Your Honor, to consider my testimony and acknowledge the
outstanding qualities and invaluable contributions that Mr. Giberson has
made and will continue to make to society. It is my sincerest hope that you
will grant him the opportunity to continue his pursuits with an unblemished
record, ensuring that his potential remains unhindered by the current
circumstance.

With utmost gratitude for your time and consideration, I express my sincere
prayers for your thoughtful deliberation.

Respectfully,

Christen Quintin
